  Case 2:20-mj-00014-DEM Document 1 Filed 01/10/20 Page 1 of 2 PageID# 1
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                                                            I     I
                                                                       FILED

                            IN THE UNITED STATES DISTRICT COURT !         ^   ^'^^0
                           FOR THE EASTERN DISTRICT OF VIRGINIA       ^ DISTRICT COURT
                                                                      MnRt:oLK,VA
                                     NORFOLK DIVISION


UNITED STATES OF AMERICA


         V.                               Case No.
                                          Corrected Court Date:"January 22, 2020
JORDAN    B.   MCKINLEY


                                   CRIMINAL INFORMATION


                                        COUNT ONE
                          (Misdemeanor)Violation Notice 7581710

         THE UNITED STATES ATTORNEY CHARGES:


         That on or about November 6, 2019, at Naval Station Norfolk,

Virginia, in the Eastern District of Virginia, the defendant, JORDAN

B. MCKINLEY, did unlawfully, knowingly, and intentionally possess

marijuana, a Schedule I controlled substance.

     (In violation of Title 21, United States Code, Section 844.)




                                        COUNT TWO
                                      (Misdemeanor)

     THE UNITED STATES ATTORNEY CHARGES:


     That on or about November 6, 2019, at Naval Station Norfolk,

Virginia, in the Eastern District of Virginia, the defendant, JORDAN

B. MCKINLEY, did willfully violate a defense property security

regulation: Chief of Naval Operations Instruction 5530.14E, to wit:

Transporting and introducing a firearm onboard a United States Navy

installation without proper authorization.

         (In violation of Title 50, United States Code, Section 797 and
Chief of Naval Operations Instruction 5530.14E).
  Case 2:20-mj-00014-DEM Document 1 Filed 01/10/20 Page 2 of 2 PageID# 2

                                    Respectfully submitted,

                                    G. Zachary Terwilliger
                                    United States Attorney




                             By:              a.
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                                    Norfolk, VA  23510
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                           CERTIFICATE OF MAILING


      I hereby certify that on the date indicated below, I caused a true and
correct copy of the foregoing Criminal Information to be mailed, postage
prepaid, to the defendant in the above-styled case.




                                    ifames T. Cole
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                                    Date
